                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                      DOCKET NO: 3:20-CR-00205-MOC-DCK-1

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                          ORDER
TIMOTHY LAMONT JOHNSON                 )
                                       )
                  Defendant.           )
_______________________________________)

         THIS MATTER is before the Court on the Government’s Motion to Dismiss Bill of

Indictment Without Prejudice (#21). The Government requests dismissal in the above-captioned

matter because Defendant pleaded guilty in a related matter. See United States v. Johnson, No.

3:20-CR-449-MOC-DCK-1. Finding good cause for dismissal, the Court enters the following

Order.

         IT IS, THEREFORE, ORDERED that the Government’s Motion to Dismiss Bill of

Indictment Without Prejudice (#21), is GRANTED, and the indictment in the above-captioned

matter is DISMISSED WITHOUT PREJDUICE as to Defendant.

                                        Signed: January 9, 2021




         Case 3:20-cr-00205-MOC-DCK Document 22 Filed 01/11/21 Page 1 of 1
